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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA

                                      (Alexandria Division)

MATTHEW SOUTER,                                     )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  ) C.A. #1:20-cv-1295 (TSE/JFA)
                                                    )
C. T. IRBY, et al.                                  )
                                                    )
       Defendants.                                  )


         Plaintiff’s Proposed Jury Instruction on Punitive Damages in Light of Warrant

       Plaintiff Matthew Souters respectfully submits the following proposed instruction and

authority per the Court’s direction following the conclusion of the evidence.




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                             Plaintiff’s Proposed Jury Instruction 13A

                     §1983: “Good Faith” Reliance On Magistrate’s Warrant

       You have heard evidence from the defendants that they relied in good faith on the

magistrate-issued warrant for Mr. Souter’s arrest. I have already explained to you that the

warrant does not relieve the defendants from liability for compensatory damages caused by their

unlawful actions. In deciding whether to award punitive damages, however, you may consider

whether the defendants acted in good faith.

       An officer does not manifest objective good faith in applying for or relying on a warrant

when the warrant is based on an application where probable cause is so lacking that official

belief in the existence of probable cause is entirely unreasonable.

       In deciding whether the defendants acted in “good faith” on the magistrate’s warrant,

consider whether the warrant issued by the magistrate was the result of error committed solely

by the magistrate, free of any misleading or inaccurate information supplied by Deputy Jacobs

and thereafter relied on by all three defendants.

United States v. Leon, 468 U.S. 897, 918, 923 (1984); United States v. Clarkson, 551 F.3d 1196,

1203 (10th Cir. 2009).

“[The] good-faith exception to the exclusionary rule does not apply in circumstances where 'the
officer will have no reasonable grounds for believing that the warrant was properly issued.'"
"Thus, an officer would not "manifest objective good faith in relying on a warrant based on an
affidavit so lacking in indicia of probable cause as to render official belief in its existence
entirely unreasonable."

United States v. Carpenter, 360 F.3d 591, 595 (6th Cir. 2004) (citing Leon). See also United

States v. Hove, 848 F.2d 137 (9th Cir.1988) (good faith exception unavailable where no

reasonable officer could have believed that the warrant was valid).


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[Authority continued]

Defendants next criticize the district court's instructions regarding punitive damages. Such
damages are available in § 1983 actions for conduct that involves 'reckless or callous
indifference to the federally protected rights of others,' as well as for conduct motivated by evil
intent." (Quoting Smith v. Wade, 461 U.S. 30, 56, 103 S.Ct. 1625, 1640, 75 L.Ed.2d 632 (1983)).
"Defendants' contention that there was insufficient evidence to establish willfulness or malice is
thus irrelevant. The callous indifference required for punitive damages is essentially the same as
the deliberate indifference required for a finding of liability on the § 1983 claim; the propriety of
a guilty verdict on the latter thus supports the punitive damage award as well. The district court
properly told the jury that it was permitted, but not required, to assess punitive damages. There
was ample, though disputed, evidence of disregard for Cooper's repeated complaints and obvious
symptoms; submission of the punitive damages issue to the jury was thus appropriate.

Cooper v. Dyke, 814 F.2d 941, 948 (4th Cir. 1987).




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                                                            Respectfully submitted,

                                                            MATTHEW SOUTER,

                                                            By counsel

Dated: August 17, 2022

Counsel for Plaintiff

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                                              Certificate of Service

          I, Victor M. Glasberg, hereby certify that on this 17th day of August 2022, I electronically

filed the foregoing Supplementary Instruction with the clerk’s ECF system.

                                                                       //s// Victor M. Glasberg
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